             Case 18-10341-KKS   Doc 14      Filed 02/11/19   Page 1 of 5




                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION
                           www.flnb.uscourts.gov

IN RE:                                  Case No. 18-10341-KKS
Brian Malcolm Elsmore and               Chapter 7
Mercedes Elsmore,

        Debtors.                    /

    CONSENT MOTION FOR RELIEF FROM THE AUTOMATIC STAY
    (RE: 4025 NORTHWEST 35TH STREET, GAINESVILLE, FL 32605)

      NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
Pursuant to Local Rule 2002-2, the Court will consider the relief requested in
this paper without further notice or hearing unless a party in interest files a
response within twenty-one (21) days from the date set forth on the proof of
service plus an additional three days for service if any party was served by
U.S. Mail, or such other period as may be specified in Fed. R. Bankr. P.
9006(f).

If you object to the relief requested in this paper, you must file an objection or
response electronically with the Clerk of the Court or by mail at 110 E. Park
Avenue, Tallahassee, FL 32301, and serve a copy on the movant’s attorney,
Lindsey Savastano, c/o Shapiro, Fishman & Gaché, LLP, 2424 North Federal
Highway, Ste 360 Boca Raton, Florida 33431, and any other appropriate
person within the time allowed. If you file and serve a response within the
time permitted, the Court will either schedule and notify you of a hearing or
consider the response and grant or deny the relief requested without a
hearing.

If you do not file a response within the time permitted, the Court will consider
that you do not oppose the relief requested in the paper, and will proceed to
consider the paper without further notice or hearing, and may grant the relief
requested.




                                     Page 1 of 5
18-311843
               Case 18-10341-KKS    Doc 14     Filed 02/11/19   Page 2 of 5




        COMES NOW Secured Creditor, U.S. Bank National Association, as Trustee

for Lehman XS Trust Mortgage Pass-Through Certificates, Series 2007-7N, by and

through its undersigned attorneys, moves the Court for an Order granting relief

from the automatic stay pursuant to 11 USC 362(d)(1) and 11 USC 362(d)(2)(A)

and, in support thereof, would show:

        1.     This is a Motion pursuant to Bankruptcy Rule 4001(a) for Relief from

the automatic stay provisions of Section 362(a) of the Bankruptcy Code.

        2.     Debtors filed this case on December 20, 2018.

        3.     U.S. Bank National Association, as Trustee for Lehman XS Trust

Mortgage Pass-Through Certificates, Series 2007-7N, is a secured creditor by virtue

of a promissory Note, Mortgage, and Assignment of Mortgage, which are attached

to this Motion as Exhibit “A”. Said real property has the following legal

description:

             LOT 25 OF REPLAT OF LOTS 1-5,7,8,19-36, AND 39-43 OF
             SABLE CHASE CLUSTER SUBDIVISION PHASE I,
             ACCORDING TO THE PLAT THEREOF, AS RECORDED
             IN PLAT BOOK P, PAGE(S) 97, OF THE PUBLIC
             RECORDS OF ALACHUA COUNTY, FLORIDA.

        The common address is: 4025 Northwest 35th Street, Gainesville, FL 32605

(the “Property”).

        4.     The Property has not been claimed by Debtors and has not been

abandoned by the Trustee.


                                       Page 2 of 5
18-311843
                       Case 18-10341-KKS                              Doc 14     Filed 02/11/19   Page 3 of 5




            5.           The approximate value of debt due is $204,844.69. See Exhibit “B” -

affidavit of indebtedness.

            6.           The payments due pursuant to the aforementioned Note and Mortgage

have been in default, and remain in default, since November 1, 2017. See Exhibit

“C” - payment history.

            7.           Debtors have failed to adequately protect the interest of Secured

Creditor, U.S. Bank National Association, as Trustee for Lehman XS Trust Mortgage

Pass-Through Certificates, Series 2007-7N.

            8.           The Alachua County Property Appraiser’s internet website property

records for the Property reflects a just value of $198,700.00 for 20181.                                        See

Exhibit “D” – property search results.

            9.           There is no equity in the Property.

            10.          Secured Creditor, U.S. Bank National Association, as Trustee for

Lehman XS Trust Mortgage Pass-Through Certificates, Series 2007-7N, is

prohibited from proceeding with foreclosure in the State Court because of the

pendency of this bankruptcy action and, that in the absence of the Court's Order

allowing Secured Creditor to proceed with the foreclosure action, its security

interest will be significantly jeopardized.




property appraisers website 198700 last visited on January 9, 2019.



                                                                         Page 3 of 5
18-311843
              Case 18-10341-KKS    Doc 14      Filed 02/11/19   Page 4 of 5




         WHEREFORE, Secured Creditor, U.S. Bank National Association, as Trustee

 for Lehman XS Trust Mortgage Pass-Through Certificates, Series 2007-7N, moves

 this Honorable Court for an Order granting relief from the automatic stay.




/s/ Theresa M. Bender                           /s/ Lindsey Savastano
Theresa M. Bender                               Lindsey Savastano
FL Bar # 0749486                                FL Bar # 57079
Theresa M. Bender, P.A.                         Shapiro, Fishman & Gaché, LLP
Chapter 7 Trustee                               Attorney for Secured Creditor
P.O. Box 14557                                  2424 North Federal Highway, Suite 360
Tallahassee, FL 32317                           Boca Raton, Florida 33431
Telephone 850-205-7777                          Telephone: 561-542-7621
E-mail: tmbenderch7@yahoo.com                   E-mail: Lsavastano@LOGS.com




                                       Page 4 of 5
 18-311843
             Case 18-10341-KKS     Doc 14      Filed 02/11/19   Page 5 of 5




                          CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been sent

via CM/ECF electronic filing or via first class U.S. Mail to the following on this

11th day of February, 2019.

Brian Malcolm Elsmore, 3710 Cottage Drive, Colorado Springs, CO 80928
Mercedes Elsmore, 4306 SW 69th Terrace, Gainesville, FL 32608
Barbara A Cusumano, 2727 NW 43rd Street, Suite 2A, Gainesville, FL 32606
Theresa M. Bender, P.O. Box 14557, Tallahassee, FL 32317
United States Trustee, 110 E. Park Avenue, Suite 128, Tallahassee, FL 32301

                                       /s/ Lindsey Savastano
                                       Lindsey Savastano
                                       FL Bar # 57079
                                       Shapiro, Fishman & Gaché, LLP
                                       Attorney for Secured Creditor
                                       2424 North Federal Highway
                                       Suite 360
                                       Boca Raton, Florida 33431
                                       Telephone: 561-542-7621
                                       Fax: (561) 998-6707
                                       E-mail: Lsavastano@LOGS.com




                                       Page 5 of 5
18-311843
